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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

U.S. MARINE SURVEYORS, INC. , et al.
2:16-cv-05360-PA (FFMX)

Plaintiff(s)

 

EDDY RIENER, et al. MEDI AT10N REPORT

 

Defendant(s).

 

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.

1. A mediation Was held on (date): May 4, 2017

l:l A mediation did not take place because the case settled before the session occurred

2. The individual parties and their respective trial counsel, designated corporate representatives, and/or
representatives of the party's insurer:

Appeared as required by Civil L.R. 16-15.5(b).

[:I Did not appear as required by Civil L.R. 16-15.5(b).
[:l Plaintiff or plaintiffs representative failed to appear.
l:l Defendant or defendant's representative failed to appear.
|:I Other:

3. Did the case settle?
|:l Yes, fully, On (date).
E Yes, partially, and further facilitated discussions are expected (See No. 4 below.)
l:] Yes, partially, and further facilitated discussions are not expected
No, and further facilitated discussions are expected (See No. 4 below.)
I:l No, and further facilitated discussions are not expected

4. If further facilitated discussions are expected, by What date Will you check in With the parties?
May 15, 2017 d %W(/\/\/

Dated: May 4, 2017

Signature of Mediator

Keith G. Wileman
Name of Mediator (print)

 

 

 

The Mediator is to electronically file original document.

 

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